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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

Art Akiane LLC
                                     Plaintiff,
v.                                                      Case No.: 1:19−cv−02952
                                                        Honorable Edmond E. Chang
Art & SoulWorks LLC, et al.
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, August 26, 2019:


         MINUTE entry before the Honorable Edmond E. Chang: Status hearing held.
Plaintiff's counsel reported that service was accomplished on Defendant Carpentee.
Plaintiff shall promptly file the return of service. There remains a dispute over whether
discovery is necessary to respond to the anticipated preliminary−injunction motion.
Plaintiff's motion for preliminary injunction due 09/30/2019. By 10/07/2019, Defendants
shall file a position paper explaining what is the primary discovery that Defendants
believe is necessary to respond to the motion. Status hearing set for 10/15/2019 at 9:00
a.m. Plaintiff raised the prospect of a cross−motion for preliminary injunction, which
would be incorporated with the response to Plaintiff's motion. Emailed notice(slb, )




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